                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS
                                 KANSAS CITY, KANSAS


JONATHAN DAVID LAWSON,
  Petitioner,
  V.

ANGELIINA LYNN LAWSON,
  Respondent, Pro Se
                                                            Case No: 5:25-cv-04045-JWB-TJJ


                                                                             JURYDEMAND


State Case Removed: AN-2020-DM-000131 (Anderson County)

                       SUPPLEMENTAL NOTICE OF REMOVAL

            AND AFFIDAVIT REGARDING STATE CLERK OBSTRUCTION

Respondent, Angeliina Lynn Lawson, respectfully submits this supplemental filing to notify the
Court that despite timely service of the Notice of Removal to Anderson County District Court
under 28 U.S.C. § 1446(d), the state clerk failed or refused to docket the filing, thereby
obstructing the removal process.

I. PROCEDURAL BACKGROUND

   1. On May 6, 2025, Respondent faxed the Notice of Removal to the Anderson County
      Clerk at approximately 3:50 PM CST, in compliance with 28 U.S.C. § 1446(d).
   2. On May 7, 2025, Respondent emailed Clerk Tina Miller inquiring why the filing had
      not appeared in the state docket. (Exhibit A)
   3. A copy of the fax confirmation of the Notice of Removal is attached. (Exhibit B)
   4. The state docket shows no entry for the Notice of Removal as of May 7, 2025. (Exhibit
      C)
   5. Respondent has submitted substantial documentation of federal rights violations,
      including retaliation under the Americans with Disabilities Act (42 U.S.C. § 12132), civil
      rights deprivations under 42 U.S.C. § 1983, and judicial misconduct. These violations
      have been compounded by the court's continued denial of Respondent's Motion to
      Proceed Pro Se, filed on April 14, 2025, and by the judge's exclusive communication
       with former counsel. As of this filing, Respondent has been denied access to her own case
       and the ability to defend herself for nearly a month.
    6. This failure by the state clerk constitutes procedural interference and may prejudice
       Respondent's access to federal relief and jurisdiction.



II. LEGAL STANDARD

Under 28 U.S.C. § 1446(d):

"Promptly after the filing of such notice of removal of a civil action the defendant or defendants
shall give written notice thereof to all adverse parties and shall file a copy of the notice with the
clerk of such State court, which shall effect the removal ... "

According to the Tenth Circuit:

"The federal court's jurisdiction attaches upon filing the notice in federal court and giving notice
to the state court. The state court is thereafter without jurisdiction." - Miller v. Lambeth, 443
F.3d 757, 759 (10th Cir. 2006).

Thus, removal is effective upon service, not dependent on the clerk's cooperation.



m. RELIEF REQUESTED
Respondent respectfully requests:

1. Confirm that federal removal was properly effectuated under 28 U .S.C. § 1446(d), based
on timely service of the Notice of Removal to the Anderson County District Court and the filing
of said notice in this Court.

2. Acknowledge that the failure by the Anderson County Clerk to docket the notice does not
negate the removal or divest this Court of jurisdiction, pursuant to controlling Tenth Circuit
precedent.

3 Accept this filing and its attached exhibits as part of the official federal record, evidencing
obstruction and procedural irregularity by the state court clerk.

4. Issue an order staying or enjoining further proceedings in the state court matter (AN- -
2020-DM-000131) and prohibiting any further action by state actors or parties inconsistent with
this Court's jurisdiction pending resolution of federal jurisdiction and constitutional claims now
properly before this Court.
5. Grant Respondent leave to file supplemental evidence and pleadings relevant to federal
jurisdiction, ADA violations, and systemic judicial retaliation.

IV. ATTACHMENTS

   •   Exhibit A: Email to Clerk Tina Miller (May 7, 2025)
   •   Exhibit B: Fax Confirmation of Notice of Removal (May 6, 2025)
   •   Exhibit C: Anderson County Docket (No entry of removal)
   •   Exhibit D: Finalized Judicial Misconduct Complaint
   •   Exhibit E: Ron Wood's (Respondent's former attorney) Motion to Withdraw Counsel
   •   Exhibit F: Judge Godderz denying Motion to Withdraw Representation



                                                          Date: May 7, 2025




Angeliina Lynn Lawson
1914 5th Ave., Leavenworth, KS 66048
AngeliinaCourtRecords@gmail.com
913-972-1661
Pro Se Litigant



                                CERTIFICATE OF SERVICE

  I hereby certify that on May 7, 2025 I filed the foregoing SUPPLEMENTAL NOTICE OF
 REMOVAL AND AFFIDAVIT REGARDING STATE CLERK OBSTRUCTION with the
  Clerk of the United States District Court for the District of Kansas, and will serve a true and
        correct copy of the same via U.S. Mail and/or electronic service to the following:

Jonathan Lawson
7029 Round Prairie St.
Shawnee, KS 66226

Clerk of the District Court of Anderson County
100 E. 4th Ave.
Garnett, KS 66032



Respectfully submitted,                                             Dated: May 7, 2025
                                     Dated: May 7, 2025




Angeliina Ly
1914 5th Ave., avenworth, KS 66048
AngeliinaCourtRecords@gmail.com
913-972-1661
Pro Se Litigant
